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EXHIBIT D
TO
RESPONSE OF PLAINTIFFS’ STEERING COMMITTEE TO BENCH

MEMORANDUM OF CERTAIN DEFENDANTS
REGARDING CHAPTER 558, FLORIDA STATUTES
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Westlaw.
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West's Florida Statutes Annotated Curreniness
Title XOCXIIT, Regulation of Trade, Commerce, Investments, and Solicitations (Chapters 494-360)
= Chapter 558. Construction Defects
=~ 558.002. Definitions

As used in this chapter, the term:

(1) “Action” means any civil action or arbitration proceeding for damages or indemnity asserting a claim for
damage to or loss of real or personal property caused by an alleged construction defect, but does not include any
administrative action or any civil action or arbitration proceeding asserting a claim for alleged personal injuries
arising out of an alleged construction defect.

(2) “Association” has the same meaning as in s. 718.103(2), s. 719.103(2}, s. 720.3019), or 8.723.075.

(3) “Claimant” means a property owner, incinding a subsequent purchaser or association, who asserts a claira for
datnages against a contractor, subcontractor, supplier, or design professional conceming a construction defect or a
subsequent owner who asserts a claim for indemnification for such damages. The term does not include a
contractor, subcontractor, supplier, or design professional.

(4) “Construction defect” means a deficiency in, or a deficiency arising out of, the design, specifications,
surveying, planning, supervision, observation of construction, or construction, repair, alteration, or remodeling of
real property resulting from:

(a) Defective material, products, or components used in the construction or remodeling;

(b) A violation of the applicable codes in effect at the time of construction or remodeling which gives rise to a
cause of action pursuant to 5. 553.84:

(c) A failure of the design of real property to meet the applicable professional standards of care at the time of

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governmental approval; or

(d) A failure to consiruct or remodel real property in accordance with accepted trade standards for good and
workmanlike construction at the time of construction.

(5) “Contractor” means any person, as defined in s. 1.01, that is legally engaged in the business of designing,
developing, constructing, manufacturing, repairing, or remodeling real property.

{6) “Design professional” means a person, as defined in s. 1.01, licensed in this state as an architect, interior
designer, landscape architect, engineer, or surveyor.

(7) “Real property” or “property” means land that is improved and the improvements on such land, including
fixtures, manufactured housing, or mobile homes and excluding public transportation projects.

(8) “Service” means delivery by certified mail, retum receipt requested, to the last known address of the addressee.

(2) “Subcontractor” means a person, as defined in s. 1.01, who is a contractor who performs labor and supplies
material on behalf of another contractor in the construction or remodeling of real property.

(10) “Supplier” means a person, as defined in s. 1.01, who provides only materials, equipment, or other supplies
for the construction or remodeling of real property.

§58.003. Action; compliance

A claimant may not file an action subject to this chapter without first complying with the requirements of this
chapter. Ifa claimant files an action alleging a construction defect without first complying with the requirements of
this chapter, on timely motion by a party to the action the court shall abate the action, without prejudice, and the
action may not proceed until the claimant has complied with such requirements.

558.004. Notice and opportunity to repair

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(1) In actions brought alleging a construction defect, the claimant shall, at least 60 days before filing any action, or
at least 120 days before filing an action involving an association representing more than 20 parcels, serve written
notice of claim on the contractor, subcontractor, supplier, or design professional, as applicable, which notice shall
refer to this chapter, If the construction defect claim arises from work performed under a contract, the written
notice of claim must be served on the person with whom the claimant contracted. The notice of claim must
describe the claim in reasonable detail sufficient to determine the general nature of each alleged construction
defect and a description of the damage or loss resulting from the defect, if known, The claimant shall endeavor to
serve the notice of claim within 15 days after discovery of an alleged defect, but the failure to serve notice of claim
within 15 days does not bar the filing of an action, subject to s. 558.003. This subsection does not preclude a
claimant from filing an action sooner than 60 days, or 120 days as applicable, after service of written notice as
expressly provided in subsection (6), subsection (7), or subsection (8).

(2) Within 30 days after receipt of the notice of claim, or within 50 days after receipt of the notice of claim
involving an association representing more than 20 parcels, the person receiving the notice of claim under
subsection (1) is entitled to perform a reasonable inspection of the property or of each unit subject to the claim to
assess each alleged construction defect. An association's right to access property for either maintenance or repair
includes the authority to grant access for the inspection. The claimant shall provide the person receiving the notice
under subsection (1} and such person's contractors or agents Teasonable access to the property during normal
working hours to inspect the property to determine the nature and cause of each alleged construction defect and the
nature and extent of any repairs or replacements necessary to remedy cach defect. The person receiving notice
under subsection (1) shall reasonably coordinate the timing and manner of any and all inspections with the
claimant to minimize the number of inspections. The inspection may include destructive testing by mutual
agreement under the following reasonable terms and conditions:

(a) If the person receiving notice under subsection (1) determines that destructive testing is necessary to determine
the nature and cause of the alleged defects, such person shail notify the claimant in writing.

(b) The notice shall describe the destructive testing to be performed, the person selected to do the testing, the
estimated anticipated damage and repairs to the property resulting from the testing, the estimated amount of time
necessary for the testing and to complete the repairs, and the financial responsibility offered for covering the costs
of repairs.

(c} If the claimant promptly objects to the person selected to perform the destructive testing, the person receiving
notice under subsection (1) shall provide the claimant with a list of three qualified persons from which the
claimant may select one such person to perform the testing. The person selected to perform the testing shall
operate as an agent or subcontractor of the person receiving notice under subsection (1) and shall communicate
with, submit any reports to and be solely responsible to the person receiving notice.

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(d) The testing shall be done at a mutually agreeable time.

(e) The claimant or a representative of the claimant may be present to observe the destructive testing.

(f) The destructive testing shall not render the property uninhabitable.

in the event the claimant fails or refuses to agree to destructive testing, the claimant shal! have no claim for
damages which could have been avoided or mitigated had destructive testing been allowed when requested and
had a feasible remedy been promptly impiemented.

(3) Within 10 days after receipt of the notice of claim, or within 30 days after receipt of the notice of claim
involving an association representing more than 20 parcels, the person receiving the notice under subsection (1)
may forward a copy of the notice of claim to each contractor, subcontractor, supplier, or design professional whom
it reasonably believes is responsible for cach defect specified in the notice of claim and shall note the specific
defect for which it believes the particular contractor, subcontractor, supplier, or design professional is responsible.
Each such contractor, subcontractor, supplier, and design professional may inspect the property as provided in
subsection (2).

(4) Within 15 days after receiving a copy of the notice of claim pursuant to subsection (3), or within 30 days after
receipt of the copy of the notice of claim involving an association representing more than 20 parcels, the
contractor, subcontractor, supplier, or design professional must serve a written response to the person who
forwarded a copy of the notice of claim. The written response shall include a report, if any, of the scope of any
inspection of the property, the findings and results of the inspection, a statement of whether the contractor,
subcontractor, supplier, or design professional is willing to make repairs to the property or whether such claim is
disputed, a description of any repairs they are willing to make to remedy the alleged construction defect, and a
timetable for the completion of such repairs.

(5) Within 45 days after receiving the notice of claim, or within 75 days after receipt of a copy of the notice of
claim involving an association representing more than 20 parcels, the person who received notice under subsection
(1) roust serve a written response to the claimant. The response shall be served to the attention of the person who
signed the notice of claim, unless otherwise designated in the notice of claim. The written response must provide:

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(a) A written offer to remedy the alleged construction defect at no cost to the claimant, a detailed description of the
proposed repairs necessary to remedy the defect, and a timetable for the completion of such repairs;

(b) A written offer to compromise and settle the claim by monetary payment, that will not oblipate the person's
insurer, and a timetable for making payment:

{c) A written offer to compromise and settle the claim by a combination of repairs and monetary payment, that will
not obligate the person's insurer, that includes a detailed description of the proposed repairs and a timetable for the
completion of such repairs and making payment;

(4) A written statement that the person disputes the claim and will not remedy the defect or compromise and settle
the claim; or

(ce) A written statement that a monetary payment, including insurance proceeds, if any, will be determined by the
person's insurer within 30 days after notification to the insurer by means of forwarding the claim, which
notification shall occur at the same time the claimant is notified of this settlement option, which the claimant can
accept or reject. A written statement under this paragraph may also include an offer under paragraph (c), but such
offer shall be contingent upon the claimant also accepting the determination of the insurer whether to make any
monetary payment in addition thereto, If the imsurer for the person receiving the claim makes no response within
the 30 days following notification, then the claimant shall be deemed to have met all conditions precedent to
commencing an action.

(6) If the person receiving a notice of claim pursuant to subsection (1) disputes the claim and will neither remedy
the defect nor compromise and settle the claim, or does not respond to the claimant's notice of claim within the
time provided in subsection (5), the claimant may, without further notice, proceed with an action against that
person for the claim described in the notice of claim. Nothing in this chapter sha!l be construed to preclude a
partial settlement or compromise of the claim as agreed to by the parties and, in that event, the claimant may,
without further notice, proceed with an action on the unresolved portions of the claim.

(7) A claimant who receives a timely settlement offer must accept or reject the offer by serving written notice of
such acceptance or rejection on the person making the offer within 45 days after receiving the settlement offer. Ifa
claimant initiates an action without first accepting or rejecting the offer, the court shall abate the action upon
timely motion until the claimant complies with this subsection.

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(8) If the claimant timely and properly accepts the offer to repair an alleged construction defect, the claimant shall
provide the offeror and the offeror's agents reasonable access to the claimant's property during normal working
hours to perform the repair by the agreed-upon timetable as stated in the offer, If the offeror does not make the
payment or repair the defect within the agreed time and in the agreed manner, except for reasonable delays beyond
the control of the offeror, including, but not limited to, weather conditions, delivery of materials, claimant's
actions, or issuance of any required permits, the claimant may, without further notice, proceed with an action
against the offeror based upon the claim in the notice of claim. If the offeror makes payment or repairs the defect
within the agreed time and in the agreed manner, the claimant is barred from proceeding with an action for the
claim described in the notice of claim or as otherwise provided in the accepted settlement offer.

(9) This section does not prohibit or limit the claimant from making any necessary emergency repairs to the
property as are required to protect the health, safety, and welfare of the claimant. In addition, any offer or failure io
offer pursuant to subsection (5) t remedy an alleped construction defect or to compromise and settle the claim by
monetary payment does not constitute an admission of liability with respect to the defect and is not admissible in
an action brought under this chapter.

(10} A claimant's mailing of the written notice of claim under subsection (1) tolls the applicable statute of
limitations relating: to any person covered by this chapter and any bond surety until the later of:

(a) Ninety days, or 120 days, as applicable, after receipt of the notice of claim pursuant to subsection (1); or

(b) Thirty days after the end of the repair period or payment period stated in the offer, if the claimant has accepied
the offer. By stipulation of the parties, the period may be extended and the statute of Hmitations is tolled during the
extension.

(11) The procedures in this chapter apply to each alleged construction defect. However, a claimant may include
multiple defects in one notice of claim. The initial list of construction defects may be amended by the claimant to
identify additional or new construction defects as they become known to the claimant. The court shall allow the
action to proceed to trial only as to alleged construction defects that were noticed and for which the claimant has
complied with this chapter and as to construction defects reasonably related to, or caused by, the construction
defects previously noticed. Nothing in this subsection shall preclude subsequent or further actions.

(12) This chapter does not:

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(a) Bar of limit any rights, including the right of specific performance to the extent such right would be available in
the absence of this chapter, any causes of action, or any theories on which liability may be based, except as
specifically provided in this chapter;

(b) Bar or limit any defense, or create any new defense, except as specifically provided in this chapter; or
(c) Create any new rights, causes of action, or theories on which liability may be based.

(13) Nothing in this section shall relieve the person receiving notice of claim under subsection (1) from complying
with all contractual provisions of any liability insurance policy as a condition precedent to coverage for any claim
under this section, However, notwithstanding the foregoing or any contractual provision, the providing of a copy
of such notice to the person's insurer, if applicable, shall not constitute a claim for insurance purposes. Nothing in
this section shail be construed to impair technical notice provisions or requirements of the liability policy or alter,
amend, or change existing Florida law relating to rights between insureds and insurers except as otherwise
specifically provided herein.

(14) To the extent that an arbitration clause in a contract for the sale, design, construction, or remodeling of real
property conflicts with this section, this section shall control.

(15) Upon request, the claimant and the person receiving notice pursuant to subsection (1) shall have a nrutual duty
to exchange all available discoverable evidence relating to the construction defects, including, but not limited to,
expert reports, photographs, information received pursuant to subsection (4), and videotapes, if any. In the event of
subsequent litigation, any party who failed to provide such evidence shall be subject to such sanctions as the court
may impose for a discovery violation, Expert reports exchanged between the parties may not be used in any
subsequent litigation for any purpose, unless the expert, or a person affiliated with the expert, testifies as a witness
or the report is used or relied upon by an expert who testifies on behalf of the party for whom the report was
prepared.

§58.005. Contract provisions: application

(1) Except as otherwise provided in subsections (3) and (4), the previsions of this chapter shall apply to every
contract for the design, construction, or remodeling of real property entered into:

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(a) Between July 1, 2004, and September 30, 2006, which contains the notice as set forth in paragraph (2)(a) and is
conspicuously set forth in capitalized letters,

(b) On or after October 1, 2006, which contains the notice set forth in paragraph (2)(b) and is conspicuously set
forth in capitalized jetters.

(2a) The notice required by paragraph (1}(a) must be in substantially the following form:
CHAPTER 558 NOTICE GF CLAIM

CHAPTER 558, FLORIDA STATUTES, CONTAINS IMPORTANT REQUIREMENTS YOU MUST FOLLOW
BEFORE YOU MAY BRING ANY LEGAL ACTION FOR AN ALLEGED CONSTRUCTION DEFECT IN YOUR
HOME. SIXTY DAYS BEFORE YOU BRING ANY LEGAL ACTION, YOU MUST DELIVER TO THE OTHER
PARTY TO THIS CONTRACT A WRITTEN NOTICE, REFERRING TO CHAPTER 4558, OF ANY
CONSTRUCTION CONDITIONS YOU ALLEGE ARE DEFECTIVE AND PROVIDE SUCH PERSON THE
OPPORTUNITY TO INSPECT THE ALLEGED CONSTRUCTION DEFECTS AND TO CONSIDER MAKING
AN OFFER TO REPAIR OR PAY FOR THE ALLEGED CONSTRUCTION DEFECTS. YOU ARE NOT
OBLIGATED TO ACCEPT ANY OFFER WHICH MAY BE MADE. THERE ARE STRICT DEADLINES AND
PROCEDURES UNDER THIS FLORIDA LAW WHICH MUST BE MET AND FOLLOWED TO PROTECT
YOUR INTERESTS.

(b} The notice required by paragraph (1)(b) must expressly cite this chapter and be in substantially the following form:
CHAPTER 558 NOTICE OF CLAIM

CHAPTER 558, FLORIDA STATUTES, CONTAINS IMPORTANT REQUIREMENTS YOU MUST FOLLOW
BEFORE YOU MAY BRING ANY LEGAL ACTION FOR AN ALLEGED CONSTRUCTION DEFECT. SIXTY
DAYS BEFORE YOU BRING ANY LEGAL ACTION, YOU MUST DELIVER TO THE OTHER PARTY TO THIS
CONTRACT A WRITTEN NOTICE, REFERRING TO CHAPTER 558, OF ANY CONSTRUCTION
CONDITIONS YOU ALLEGE ARE DEFECTIVE AND PROVIDE SUCH PERSON THE OPPORTUNITY TO
INSPECT THE ALLEGED CONSTRUCTION DEFECTS AND TO CONSIDER MAKING AN OFFER TOREPAIR
OR PAY FOR THE ALLEGED CONSTRUCTION DEFECTS. YOU ARE NOT OBLIGATED TO ACCEPT ANY
OFFER WHICH MAY BE MADE. THERE ARE STRICT DEADLINES AND PROCEDURES UNDER THIS
FLORIDA LAW WHICH MUST BE MET AND FOLLOWED TO PROTECT YOUR INTERESTS,

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(3) After receipt of the initial notice of claim, a claimant and the person receiving notice under s, 558.0047) may, by
written mutual agreement, alter the procedure for the notice of claim process described in this chapter.

(4) This chapter applies to ali actions accruing on or after July 1, 2004, and ail actions commenced on or after such
date, regardless of the date of sale, issuance of a certificate of occupancy or its equivalent, or substantial completion
of the construction. Notwithstanding the notice requirements of this section for contracts entered into between July
1, 2004, and September 30, 2006, this chapter applies to all actions accruing before July 1, 2004, but not yet
commenced as of July 1, 2004, and failure to include such notice requirements in a contract entered into prior to July
1, 2004, does not operate to bar the procedures of this chapter from applying te all such actions. Notwithstanding the
notice requirements of this section for contracts entered into on or after October 1, 2006, this chapter applies to all
actions accruing before July 1, 2004, but not yet commenced as of July 1, 2004, and failure to include such notice
requirements in a contract entered into before July 1, 2004, does not operaic to bar the procedures of this chapter from
applying to ali such actions.

558.001. Legislative findings and declaration

The Legislature finds that it is beneficial to have an alternative method to resolve construction disputes that would
reduce the need for litigation as well as protect the rights of property owners. An effective alternative dispute
resolution mechanism in certain construction defect matiers should involve the claimant filing a notice of claim with
the contractor, subcontractor, supplier, or design professional that the claimant asserts is responsible for the defect,
and should provide the contractor, subcontractor, supplier, or design professional with an opportunity to resolve the
claim without resort to further legal process,

END OF DOCUMENT

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